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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

      UNITED STATES OF AMERICA,                     §           NO. 15-CR-20545-JAL
                                                    §
               Plaintiff,                           §
                                                    §
                            v.                      §
                                                    §
      GUST AVO A. GIRAL,                            §
                                                    §
               Defendant.                           §


                                 RESTITUTION AMOUNT STIPULATION

           The United States Attorney, in and for the Southern District of Florida, and the

    Department of Justice, Criminal Division, Fraud Section ("the Government"), and the Defendant

    GUSTAVO A. GIRAL stipulate that the defendant is responsible to pay total restitution in the

    amount of $11,503 ,068 to be apportioned as follows:

           Euler Hermes Insurance                $1,848,433
           ExpoCredit                            $ 478,425
           The Factor Group                      $7,224,567
           The Export Import Bank                $1,951,643.
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     Date:   ·-/sP6                        Defendant


     Date:   C/ I I 'I It (
                                           DANIEL ECARJUS, ESQ.
                                           Attorney for the Defendant


     Date:   61~,116
               r     '
                                           Trial Attorney
                                           Flerida gar# A55-0 I4n
                                           PA TRJCK M. DONLEY
                                           Senior T,igation Counsel
                                           Florida Bar # A5501108
                                           Fraud Section, Criminal Division
                                           United States Department of Justice




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